                UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF MICHIGAN
                  SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Pulse Fitness, LLC                       Bankruptcy Case No. 22-47113
                                          Hon. Mark A. Randon
                  Debtor.                 Chapter 11
                                          Subchapter V


       PLAN OF REORGANIZATION OF PULSE FITNESS, LLC


                                            PREPARED BY:

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                                 INTRODUCTION

       The Debtor proposes this Plan for the resolution of outstanding claims against
and interest in the Debtor pursuant to the Bankruptcy Code. Capitalized terms used
herein and not otherwise defined shall have meanings ascribed to such terms in
Article 1.2 hereof. The Debtor is the proponent of the Plan under Bankruptcy Code
sections 1189(a) and 1129.

                              ARTICLE I
                DEFINITIONS, RULES OF INTERPRETATION
                      AND COMPUTATION OF TIME

       1.1 Scope of Definitions; Rules of Construction: For the purposes of the
Plan, except as expressly provided or unless the context otherwise requires, all
capitalized terms not otherwise defined shall have the meaning ascribed to them in
this Article I of the Plan. Any term used in the Plan that is not defined in this Article
I of the Plan, but is defined in the Bankruptcy Code or the Bankruptcy Rules (as
defined below) shall have the meaning ascribed to such terms in the Bankruptcy
Code or the Bankruptcy Rules as the case shall be. Whenever the context requires,
such terms shall include the plural as well as the singular number, the masculine
gender shall include the feminine and the feminine gender shall include masculine.
For purposes of the Plan, the following terms shall have the meaning set forth below,
unless the context requires otherwise.

      1.2    Definitions:

             1.2.1 “Administrative Claim” means Allowed Claims for costs and
expenses of administration of this Chapter 11 case allowed under §§ 503(b) and
507(a)(2) of the Bankruptcy Code.

             1.2.2 “Administrative Creditor” means a holder of an Administrative
Claim.

             1.2.3 “Allowed Claim” or “Allowed Interest” means any Claim for
which a proof of claim has been filed prior to the Bar Date or that is scheduled and
not listed as disputed, contingent, or unliquidated, and to which no objection has
been timely filed; or any claim as to which an objection has been resolved by a Final
Order of the Court establishing the priority and amount of such claim.

             1.2.4 “Article” refers to a specific article of this Plan.


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               1.2.5 “Avoidance Actions” means Causes of Action of the Debtor,
Estate or the Reorganized Debtor arising under Chapter 5 and any related sections
of the Bankruptcy Code, including without limitation, §§ 502, 510, 541, 544, 545,
547, 548, 549, 550 and 553 of the Bankruptcy Code, or under related state or federal
statutes and common law, including fraudulent transfer laws, whether or not
litigation is commenced to prosecute such Cause of Action.

              1.2.6 “Ballot” means the official bankruptcy form no. 314 adopted for
this Case or a document prepared to substantially conform to same which was
distributed to all Creditors and parties-in-interest in connection with the solicitation
of votes for or against the Plan.

            1.2.7 “Bankruptcy Code” or “Code” means the Bankruptcy Reform
Act of 1978, as amended (11 U.S.C. §§101, et seq.).

            1.2.8 “Bankruptcy Court” or “Court” means the United States
Bankruptcy Court for the Eastern District of Michigan, Southern Division, and any
court having jurisdiction to hear appeals therefrom.

             1.2.9 “Bankruptcy Rules” or “Rules” means the Federal Rules of
Bankruptcy Procedure, as promulgated by the Supreme Court that became effective
on August 1, 1991, and any amendments thereto. To the extent applicable,
Bankruptcy Rules also refers to the Local Rules of the U.S. District Court for the
Eastern District of Michigan, as amended and the Local Bankruptcy Rules for the
Eastern District of Michigan, as amended.

              1.2.10 “Bar Date” means the date established by the Bankruptcy Court
for the filing of any Claims.

            1.2.11 “Business Day” means any day, other than a Saturday, Sunday
or “Legal Holiday,” as that term is defined in Bankruptcy Rule 9006(a).

           1.2.12 “Case” means the bankruptcy case currently pending before the
Bankruptcy Court entitled In re Pulse Fitness, LLC, Case No. 22-47113.

             1.2.13 “Causes of Action” means all Claims, rights and causes of action
belonging to the Debtor and upon confirmation, the Reorganized Debtor, including
without limitation, Avoidance Actions and any related Claims and actions arising
under such sections of the Bankruptcy Code by operation of law or otherwise; any


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Claims or Causes of Action against any third parties and any and all proceeds of the
foregoing.

             1.2.14 “Claim” means any right to payment, whether or not such right
is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured or unsecured, or any right
to an equitable remedy for breach of performance if such breach gives rise to a right
to payment, whether or not such right to an equitable remedy is reduced to judgment,
fixed, contingent, matured, unmatured, disputed, undisputed, secured or unsecured.

            1.2.15 “Claimant” means any individual or entity which has a valid
Claim as defined herein.

              1.2.16 “Class” means a class of holders of Claims or Interests described
in Article III of this Plan.

             1.2.17 “Confirmation Date” means the date upon which the Bankruptcy
Court enters the Confirmation Order.

           1.2.18 “Confirmation Hearing” means the hearing conducted by the
Bankruptcy Court to consider the confirmation of the Plan filed by the Debtor.

            1.2.19 “Confirmation Order” means the Order entered confirming this
Plan pursuant to §1129 of the Code.

             1.2.20 “Contested Claim” or “Contested Interest” means any Claim or
Interest as to which the Debtor or any other party in interest has interposed an
objection or commenced an adversary proceeding in accordance with the
Bankruptcy Code, Bankruptcy Rules and this Plan, which objection has not been
determined by a Final Order.

             1.2.21 “Creditor” means any holder of a Claim against the Debtor.

             1.2.22 “Debtor” means, Pulse Fitness, LLC.

            1.2.23 “Debtor-In-Possession” means the Debtor in its capacity as
debtor-in-possession as term as defined in the Bankruptcy Code in the Bankruptcy
Case.

             1.2.24 “Disallowed” means (a) a Claim or Interest or any portion


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thereof, that has been disallowed by a Final Order or a settlement, (b) a Claim or
Interest or any portion thereof that is listed in the Debtor’s Schedules at zero or as
contingent, disputed, or unliquidated and as to which a Bar Date has been established
but no Proof of Claim has been timely filed or deemed timely filed with the
Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the
Bankruptcy Court or otherwise deemed timely filed under applicable law, or (c) a
Claim or Interest or any portion thereof that is not listed in the Debtor’s Schedules
and as to which a Bar Date has been established but no Proof of Claim has been
timely filed or deemed timely filed with the Bankruptcy Court pursuant to either the
Bankruptcy Code or any Final Order of the Bankruptcy Court or otherwise deemed
timely filed under applicable law.

           1.2.25 “Effective Date” means the date that is one (1) day after the
Confirmation Order becomes a Final Order.

             1.2.26 “Estate” means the bankruptcy estate of the Debtor created
pursuant to § 541 of the Bankruptcy Code.

              1.2.27 “Final Order” means an Order of the Bankruptcy Court as to
which (i) the time for appeal has expired and no appeal has been timely taken; or (ii)
any timely appeal has been finally determined or dismissed; or (iii) an appeal has
been timely taken but such order has not been stayed within fourteen (14) days after
the filing of such appeal.

            1.2.28 “Governmental Unit” has the meaning ascribed to it in § 101(27)
of the Bankruptcy Code.

              1.2.29 “Holder” means a Person holding a Claim, Interest, or Lien, as
applicable.

              1.2.30 “Impaired” means a Claim treated under this Plan, unless the
Plan:

              A.     leaves unaltered the legal, equitable, and contractual rights to
which such Claim or Interest entitles the holder of such Claim or Interest; or
notwithstanding any contractual provision or applicable law that entitles the holder
of such Claim or Interest to demand or receive accelerated payment of such Claim
or Interest after the occurrence of a default;

              B.    cures any such default (other than defaults relating to (i) any


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penalty interest rate or provision arising from a non-monetary default by the Debtor;
(ii) the solvency or financial condition of the Debtor or (iii) the commencement of
this Case) that occurred before or after the commencement of the Case;

             C.    reinstates the maturity of such Claim or Interest as such maturity
existed before such default;

             D.     compensates the holder of such Claim or Interest for any
damages incurred as a result of any reasonable reliance on such contractual provision
or such applicable law; and

            E.    does not otherwise alter the legal, equitable or contractual rights
to which such Claim or Interest entitles its holder.

              1.2.31 “Insider” means a current or former director, shareholder,
officer, partner, person in control, relative of a director, officer, partner or person in
control of the Debtor or a corporation or entity in which an Insider of the Debtor is
an Insider.

             1.2.32 “Interest” means an equity interest in the Debtor as defined in §
101(16) of the Code.

              1.2.33 “Interest Rate” means (a) with respect to Claims entitled to
interest under § 506 of the Bankruptcy Code and this Plan and having an applicable
contractual rate of interest evidenced by a writing signed by an executive officer of
the Debtor the lowest rate of interest provided in such contract, without regard to
any default by Debtor, (b) with respect to all other Claims entitled to interest under
the Bankruptcy Code and this Plan, the applicable statutory rate for such Claims or,
if no statutory rate exists, 1.0% per year, or (c) with respect to (a) or (b) such other
interest rate as may be determined by a Final Order of the Bankruptcy Court.

             1.2.34 “Lien” means any security interest, lien, tax lien, mortgage,
encumbrance, common law or statutory lien, charge against, or an interest in
property to secure payment of a debt or performance of an obligation. “Lien” shall
be defined as, and interpreted in, as broad a manner as possible.

             1.2.35 “Petition Date” means September 9, 2022 the date that the
Debtor filed its Chapter 11 voluntary petition which commenced the Case.

             1.2.36 “Person” has the meaning given to it under § 101(41) of the


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Bankruptcy Code.

            1.2.37 “Plan” means this Plan, as it may be altered, amended or
modified from time to time.

           1.2.38 “Priority Claim” means a Claim under or entitled to priority
under any of the following sections of the Code: §§ 507(a)(4), 507(a)(5), or
507(a)(8).

             1.2.39 “Pro Rata” means, at any time, the proportion that the face
amount of a Claim in a particular Class bears to the aggregate face amount of all
Claims (including disputed or Contested Claims) in such Class, unless the Plan
expressly provides otherwise.

           1.2.40 “Professional Fees” means the fees and reimbursement for
disbursements owed to attorneys, accountants, or other professionals whose
employment has been approved by the Bankruptcy Court.

             1.2.41 “Proponent” means the Debtor, the proponent of this Plan.

            1.2.42 “Section” refers to a specific section or subsection of this Plan,
unless otherwise set forth herein.

              1.2.43 “Secured Claim” means a Claim secured by a Lien on property
in which the estate has an interest but only to the extent of the value of the Creditor's
interest in the estate's interest in the property as of the Petition Date.

             1.2.44 “Unimpaired” or “Unimpaired Claim” means a Claim treated
under this Plan that leaves unaltered the legal, equitable, and contractual rights of
such Claim and is not Impaired.

             1.2.45 “Unsecured Claim” means a Claim that is not a Secured Claim
and is not an Administrative Claim or a Priority Claim.

      1.3    Rules of Interpretation: For purposes of the Plan:

             1.3.1 Any reference in the Plan to a contract, instrument, release,
indenture, or other agreement or document being in a particular form or on particular
terms and conditions means that such document shall be substantially on such terms
and conditions.


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             1.3.2 Any reference in the Plan to an existing document or exhibit filed
or to be filed means such document or exhibit as it may have been or may be
amended, modified or supplemented.

              1.3.3 The words “herein” and “hereto” refer to the Plan in its entirety
rather than to a particular portion of the Plan unless expressly stated otherwise.

              1.3.4 Captions and headings to Articles and Sections are inserted for
convenience of reference only and are not intended to be a part of or effect the
interpretation of the Plan.

            1.3.5 The rules of construction set forth in § 102 of the Bankruptcy
Code and in the Bankruptcy Rules shall apply.

       1.4 Computation of Time: In computing any period of time prescribed or
allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall govern. If the
Effective Date or any other date on which a transaction or distribution may occur
under the Plan occurs on a day that is not a Business Day, the transactions or
distributions contemplated by the Plan to occur on such day shall instead occur on
the next business day following such non-business day.

       1.5 Governing Law: Unless a rule of law or procedure is supplied by
federal law (including the Bankruptcy Code and Bankruptcy Rules), the laws of the
State of Michigan shall govern the construction and implementation of the Plan and
any agreements, documents and instruments executed in connection with the Plan.

        1.6 Exhibits: All exhibits are incorporated into and are a part of this Plan
as if set forth in full herein, and, to the extent not annexed hereto, such exhibits shall
be filed with the Bankruptcy Court. Upon its filing, the Exhibit may be inspected in
the office of the Clerk of the Bankruptcy Court or its designee during normal
business hours or at the Bankruptcy Court website for a fee at
http://ecf.mieb.uscourts.gov. The exhibits may also be requested, in writing, from
the Debtor’s counsel. All exhibits may be revised prior to the Confirmation Date by
the filing of the revised exhibits with the Bankruptcy Court, so long as the revised
exhibits are substantially in conformance with the terms of this Plan. The exhibits
are an integral part of the Plan, and entry of the Confirmation Order by the
Bankruptcy Court shall constitute an approval of the exhibits.

      1.7    Estimates of Claims: Unless expressly stated otherwise, nothing


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herein shall be deemed an admission by the Debtor or to otherwise prejudice the
Debtor in any claim’s objection or Cause of Action. All estimates of Causes of
Action and claims amounts listed in this Plan are current estimates only. All claims
amounts and classifications remain subject to the Claims objection process as forth
herein.

                                ARTICLE II
                            BRIEF BACKGROUND

      This section provides a brief overview and history of the Debtor’s business
operations and summarizes the events leading up to the filing of the Case and certain
key events in the Case. Creditors and other parties in interest may disagree with
statements contained in this Article; however, it is for informational purposes only
and shall not be deemed accurate or have preclusive effect in any future proceeding.

         2.1 History of the Debtor:

      The Debtor is a Michigan limited liability company that is presently located
at 400 E. 10 Mile Road, Pleasant Ridge, MI 48069. The Debtor commenced this
Case as a means to facilitate an orderly restructuring of its outstanding obligations
and believes its efforts will maximize recovery to all constituents.

      The Debtor is a unique gym located in Pleasant Ridge, Michigan that offers
members a non-judgmental and customized approach to their physical fitness. The
Debtor’s facility and business model has allowed personal trainers the opportunity
for a career in the fitness industry and a culture that gives members a sense of
ownership. The Debtor’s memberships, which are only month to month, are
designed around one-on-one personal training and group classes to ensure a personal
connection with each member on an individual level with each member receiving a
one-of-a-kind program based on fitness assessment, fitness goals, and body type.
The Debtor has also partnered with Beacon Park and the City of Detroit in its
operations.

       The Debtor was obviously struck hard during the Covid-19 pandemic and
resulting shut down orders from the State of Michigan; however, the Debtor believes
it has a viable reorganization path forward through the Chapter 11 process.

         2.2 Liquidation Analysis:

   The Debtor’s Liquidation Analysis is attached to this Plan as Exhibit A. The


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Debtor believes that under the Plan, creditors will receive not less than they would
receive if the Debtor were liquidated under Chapter 7 of the Bankruptcy Code.

    All values contained in the Liquidation Analysis are based on good faith
estimates using information currently available to the Debtor. The estimates
contained therein have not been subject to audit and the Debtor’s assets have not
been formally appraised for purposes of the Liquidation Analysis. The estimates
shall in no way be construed to constitute binding guaranties, representations, or
warranties and are subject to revision at any time.

   The values for the Debtor’s assets are based upon reasonable estimates of the
values as carried on the Debtor’s books and records. In establishing the values, the
Debtor has considered the size, age, physical condition, and location of the assets.

   It is also noteworthy that upon a liquidation of the Debtor’s assets, there may be
significant penalties and adjustments. The amounts contained in the Liquidation
Analysis are conservative estimates, but the adjustments may be much higher

         2.3 Post-Confirmation Financial Projections:

   The Debtor has attached as Exhibit B a summary of post-confirmation financial
projections for the time February 2023 through January 2026.

         2.4 Ballot:

   The ballot to accept or reject this Plan is attached hereto as Exhibit C. Pursuant
to the Court’s Order Establishing Deadlines And Procedures In The Case Of A
Debtor Who Has Elected To Have SubChapter V Case Of Chapter 11 Apply the
deadline to return ballots is January 3, 2023.

                           ARTICLE III
               ADMINISTRATIVE AND PRIORITY CLAIMS

      Administrative Creditors and Priority Creditors shall be paid on account of
their respective Administrative and Priority Claims in accordance with the
provisions set forth below:

         3.1 GROUP I:

             3.1.1 The claims of Group I shall consist of all Administrative Claims,


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including any taxes that qualify as Administrative Claims. The Allowed Claims of
this Group shall be paid the full amount of their Claims on such date as may be
mutually agreed upon between the Debtor and the particular claimant, or, if no such
date is agreed upon, the later of (i) the Effective Date, (ii) the date by which payment
would be due in the ordinary course of business between the Debtor and such
Administrative Creditor, or (iii) the date on which the Bankruptcy Court enters its
order, if necessary, approving the Debtor’s payment of such expenses. All
Professional Fees that are the subject of pending fee applications before the
Bankruptcy Court, or that have already been allowed by the Bankruptcy Court but
which remain unpaid as of the Effective Date, unless otherwise agreed by such
professionals, shall be paid in full, in cash, (i) on the Effective Date, or (ii) within
seven (7) days after a Final Order of the Bankruptcy Court has been entered
authorizing their payment, whichever is later.

             3.1.2 The Bar Date for asserting any Administrative Claim is fourteen
(14) days after the Confirmation Date. Any Administrative Claim first asserted after
the date that is fourteen (14) days after the Confirmation Date shall be deemed
Disallowed and shall not be entitled any payment under this Plan. The objection
procedures in Article IX of this Plan are applicable to any filed Administrative
Claim. This section does not apply to the U.S. Trustee.

          3.2 GROUP II:

              3.2.1 The Claims of Group II shall consist of all Allowed Claims, if
any, that are entitled to Priority under § 507(a)(8) of the Code.

              3.2.2 Any payments made to Allowed Claims of Group II shall first be
applied to the trust fund portion of taxes, including any trust fund recovery penalties.

            3.2.3 Creditors with claims that are entitled to Priority under §
507(a)(8) will be paid in full on the Effective Date.

             3.2.4 The Debtor shall have the right to challenge any Priority Claim
through the claims objection process set forth in Article X, which challenge may
include but is not limited to a challenge to any penalty portion of such Claim, the
amount and the value of the property which forms the basis for any assessment of
taxes and the computation of the tax. The right to challenge these claims shall
include, without limitation, an objection to the assessment of the Debtor’s personal
property that may or may not have been made by the respective taxing authority.



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              3.2.5 To the extent that an objection is filed, the Debtor shall not be
obligated to pay any Allowed Priority Claim until a determination of the amount of
the Priority Claim has been made by the Bankruptcy Court. Payments to these
Priority Claims that are ultimately allowed shall commence on the first business day
of the calendar quarter following the Court’s final determination of the allowability
of all of the Claims in this Class.

             3.2.6 Until such time as the Priority Claim has been fully and
indefeasibly paid, the Priority Claimant shall retain any and all Liens that it may
have which shall remain in full force and effect, with the same Priority and to the
same extent that existed on the Petition Date. Upon payment in full of the Priority
Claim, the Priority Claimant shall release and extinguish all Liens and execute any
and all documents reasonably requested by the Debtor to memorialize same.

               3.2.7 Provided that the Debtor is making all payments required under
the Plan, any taxing authority shall not pursue any further collection efforts,
including the issuance of levies, seizure of assets, imposition of trust fund recovery
penalties and assessments and filing of Liens against any party who may also be
liable to pay or satisfy Tax Claims. If Claimants of this Group seize assets or collect
funds from any non-debtor party, the Debtor may reduce its payments under the
Plan, in its discretion, by the amount of funds seized.

                            ARTICLE IV
              DESIGNATION AND TREATMENT OF CLASSES
                     OF CLAIMS AND INTERESTS

This Plan divides Claims and Interests into classes and treats them as follows:

       4.1 Class I: This class shall receive payments and treats the Allowed
Secured Claim of Invest Detroit, LLC (“Invest Detroit”). Invest Detroit shall possess
an Allowed Secured Claim in the amount of sixty-two thousand five hundred thirty-
three & 04/100 ($62,533.04) dollars against the Debtor’s assets to the extent as set
forth in their security instruments and UCC-1 financing statement filed with the State
of Michigan Department of State bearing filing numbers 2016103541-5 and
20210406000155-6 (the “Invest Detroit Claim”). The Invest Detroit Claim shall be
paid in full on or before February 28, 2026 with accrued interest of 7.00% per annum
until paid in full. There shall be no penalty for prepayment of the Invest Detroit
Claim.

      Payments shall be made in monthly installments of one thousand nine hundred


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thirty-one & 00/100 ($1,931.00) dollars on or before the 10th of each month and
shall continue as set forth herein until the Invest Detroit Claim is paid.

          This Class is Impaired.

      4.2 Class II: This Class shall receive payments and treats the Claim of Iron
Ridge Holdings, LLC (“Iron Ridge”). The Debtor shall repay any amounts owed to
Iron Ridge from prior to the Petition Date by making, in addition to its regular rental
payments for the real property located at 400 E. 10 Mile Road, Pleasant Ridge, MI
(the “Lease”) by making additional payments of two thousand five hundred &
00/100 ($2,500.00) dollars per month from February 2023 through November 2023
and additional payments of five thousand & 00/100 ($5,000.00) dollars per month
from December 2023 through February 2033. The Lease shall otherwise be assumed
by the Debtor.

      This Class is Impaired.

       4.3 Class III: This Class will not receive payments and treats the Claim of
Greenseed, LLC (“Greenseed”). On the Effective Date, any collateral under the
agreement by and between the Debtor and Greenseed shall be surrendered to
Greenseed. After selling such collateral in a commercially reasonable manner, any
deficiency claim of Greenseed shall be treated as a general unsecured claim and will
be treated as a Class IV holder of Allowed Unsecured Claim.

      This Class is Impaired.

       4.4 Class IV: This Class consists of the Holders of Allowed Unsecured
Claims. Neither pre-confirmation interest nor post-confirmation interest on Allowed
Class III Claims will be paid. A Creditor in this Class shall receive a pro rata
distribution incident to it’s Allowed Unsecured Claim based on four (4) payments
each year on a quarterly basis of $2,000.00 per quarter for three (3) years. The first
payment shall be due on or before March 31, 2023. Such payments shall continue
to be made on the same date each quarter until the earlier occurs of (i) the respective
Claim is paid in full; or (ii) December 2025.

      This Class is Impaired.

       4.5 Class V: This Class shall consist of the Interests of the Debtor. Holders
of the Interests shall retain their interests in the Debtor and Reorganized Debtor in
the same manner as percentage upon confirmation of the Plan.


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      This Class is Unimpaired.

                             ARTICLE V
                   MEANS OF EXECUTION OF THE PLAN

       5.1      The Reorganized Debtor: On the Effective Date, all of the Debtor’s
rights, titles, and interests in and to all Assets shall revest in the Reorganized Debtor
to be operated and distributed by the Reorganized Debtor pursuant to the provisions
of this Plan.

       5.2    Professional Fees of the Debtor and Reorganized Debtor: Any
services performed or expenses incurred by any professional on behalf of the Debtor
or the Reorganized Debtor with respect to this Case after the Confirmation Date,
shall not be subject to the prior review and approval of the Bankruptcy Court and,
notwithstanding any provision of the Bankruptcy Code or Rules, including, without
limitation, Fed. R. Bankr. P. 2016, after the Confirmation Date, no professional shall
be required to disclose payments from the Debtor or the Reorganized Debtor to the
Bankruptcy Court or the United States Trustee. All fees and expenses arising after
the Confirmation Date shall be billed directly to the Reorganized Debtor.

       5.3    Change of Address: In order to ensure that it receives its distribution,
each Creditor must advise the Reorganized Debtor of any change in address. Absent
any such notification, the Reorganized Debtor will send payments to the address
listed on the Matrix on file with the Bankruptcy Court.

       5.4   Litigation: Unless expressly waived or settled in the Plan or
Confirmation Order, all Causes of Action, including but not limited to, Avoidance
Actions, are expressly reserved, whether or not specifically listed in this Plan,
Disclosure Statement or Debtor’s bankruptcy schedules filed with the Court, as
amended. Upon the Effective Date, all Causes of Action, including but not limited
to, Avoidance Actions, are expressly vested in the Reorganized Debtor. No
preclusion doctrine, estoppel (judicial, equitable or otherwise) or laches shall apply
to any Causes of Action as a consequence of the Confirmation, the Effective Date or
consummation of the Plan.

                                ARTICLE VI
                          ACCEPTANCE OF THE PLAN

      6.1     Presumed Acceptance of the Plan: Class V is conclusively presumed


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to have accepted the Plan pursuant to § 1126(f) of the Bankruptcy Code.

      6.2     Presumed Rejection of the Plan: No Class is conclusively presumed
to have rejected the Plan pursuant to § 1126(g) of the Bankruptcy Code.

       6.3   Voting Classes: Classes I through IV of the Plan are Impaired under
the Plan and are entitled to vote to accept or reject the Plan.

       6.4   Elimination of Vacant Classes: Any Class of Claims that does not
have a Holder of an Allowed Claim or a Claim temporarily Allowed by the
Bankruptcy Court as of the date of the Confirmation Hearing shall be deemed
eliminated from the Plan for purposes of voting to accept or reject the Plan and for
purposes of determining acceptance or rejection of the Plan by such Class pursuant
to § 1129(a)(8) of the Bankruptcy Code.

      6.5     Cramdown: The Debtor will request confirmation of the Plan, as it
may be modified from time to time, under § 1191 of the Bankruptcy Code. The
Debtor reserves its rights to modify the Plan to the extent, if any, that confirmation
pursuant to § 1191 of the Bankruptcy Code requires modification of the Plan.

                               ARTICLE VII
                          EXECUTORY CONTRACTS

       7.1 Assumption of Executory Contracts: The occurrence of the Effective
Date shall constitute the rejection, pursuant to § 365(a) of the Bankruptcy Code, of
all executory contracts and unexpired leases that have not already been assumed or
rejected by the Debtor, or that are the subject of a pending motion to assume or reject
as of the date the Confirmation Order is entered.

       7.2     Rejection Claims: Any Creditor who has a Claim as a result of such
rejection shall have seven (7) days after the Effective Date or the date by which such
rejection is effective pursuant to an order of the Court to file a Proof of Claim. In
the event that such Claim is not timely filed, the Claim shall be Disallowed in its
entirety. The solicitation of this Plan shall be sufficient notice informing any
potential Creditor of this requirement.

                                   ARTICLE VIII
                        MODIFICATION OF THE PLAN
      8.1    The Debtor may, from time to time, propose amendments or
modifications of this Plan prior to its confirmation, without leave of the Court. After


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confirmation, the Debtor may, with leave of the Bankruptcy Court, and upon notice
and opportunity for hearing to the affected Creditor(s) only, remedy any defect or
omission, reconcile any inconsistencies in the Plan or in the Order of Confirmation
or otherwise modify the Plan.

      8.2     If the Bankruptcy Court determines that the modification affects all the
Creditors, or if the Debtor proposes a material modification affecting all Creditors,
then such modification will be governed by § 1127 of the Bankruptcy Code.

                                ARTICLE IX
                          EFFECT OF CONFIRMATION

       9.1    Discharge of Claims: Except as otherwise provided in this Plan or §
1192 of the Bankruptcy Code, the confirmation of this Plan shall discharge the
Debtor from any debt that arose before the Confirmation date, and any debt of any
kind specified in §§ 502(g), (h), or (i) of the Bankruptcy Code, whether or not: (a) a
proof of the Claim based on such debt is filed or deemed filed under § 501 of the
Bankruptcy Code; (b) such Claim is allowed under § 502 of the Bankruptcy Code;
or (c) the holder of such Claim has accepted the Plan.

       9.2    Injunction: Except as otherwise provided in the Plan, from and after
the Effective Date, all persons who have held, hold, or may hold Claims against the
Debtor are permanently enjoined from taking any of the following actions against
the Debtor: (i) commencing or continuing, in any manner or in any place, any action
or other proceeding; (ii) enforcing, attaching, collecting, or recovering in any manner
any judgment, award, decree, or order; (iii) creating, perfecting or enforcing any lien
or encumbrance; (iv) asserting a setoff, right of subrogation, or recoupment of any
kind against any debt, liability, or obligation due to the Debtor; and (v) commencing
or continuing, in any manner or in any place, any action that does not comply with
or is inconsistent with the provisions of the Plan; provided, however, that nothing
contained herein precludes such persons or entities from exercising their rights
pursuant to and consistent with the terms of this Plan and the Confirmation Order.

       9.3    Setoffs: Except as otherwise expressly provided for in the Plan, the
Reorganized Debtor pursuant to the Bankruptcy Code (including § 553 of the
Bankruptcy Code), applicable non-bankruptcy law, or as may be agreed by the
Holder of a Claim, may setoff against any Allowed Claim and the distributions to be
made pursuant to the Plan on account of such Allowed Claim (before any
distribution is made on account such Allowed Claim), any Claims, rights, and
Causes of Action of any nature that the Debtor or the Reorganized Debtor, as


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applicable, may hold against the Holder of such Allowed Claim (or against the
predecessor-in-interest to Holder to the extent that the Holder takes such Allowed
Claim subject to setoffs and defenses that may be asserted against the predecessor-
in-interest), to the extent such Claims, rights, or Causes of Action against such
Holder have not been otherwise compromised or settled on or prior to the Effective
Date (whether pursuant to the Plan or otherwise); provided, however, that neither
the failure to effect such a setoff nor the allowance of any Claim pursuant to the Plan
shall constitute a waiver or release by the Reorganized Debtor of any Claims, rights,
setoff rights and Causes of Action that the Reorganized Debtor may possess against
such Holder. The Reorganized Debtor shall not be required to make any distributions
to the Holder of any Allowed Claim to the extent that the Reorganized Debtor asserts
setoff rights against such Holder until after entry of a Final Order resolving such
setoff rights. In no event shall any Holder of Claims be entitled to setoff any Claim
against any Claim, right, or Cause of Action of the Debtor or Reorganized Debtor
unless such Holder has filed a motion with the Bankruptcy Court requesting the
authority to perform such setoff on or before the Confirmation Date, and
notwithstanding any indication in any Proof of Claim or otherwise that such Holder
asserts, has, or intends to preserve any right of setoff pursuant to § 553 of the
Bankruptcy Code or otherwise.

                            ARTICLE X
                OBJECTIONS TO CLAIMS AND INTERESTS

      10.1 Parties in interest may, within sixty (60) days after the Effective Date,
object to the allowance of any Claims, or request the Bankruptcy Court to timely
reconsider the allowance of any Claim previously or hereafter filed.

      10.2 Parties in interest may object to any Lien as part of the Claims objection
process.

       10.3 Parties in interest may file an objection to any Proof of Claim filed in
accordance with Section 7.2 on or before the later of (i) sixty (60) days after the
filing of the Proof of Claim or (ii) the time set for the filing of objections in Section
(including any extensions). The objection will be resolved in accordance with Article
X.

                             ARTICLE XI
                UNITED STATES TRUSTEE REQUIREMENTS

      11.1 The Debtor will continue to remit to the Office of the United States


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Trustee all appropriate post-confirmation monthly reports for the relevant time
periods.

       11.2 After the Case is closed, to the extent any monthly reports have not
been timely provided, the Case may be re-opened by the Office of the United States
Trustee to file such motions or take such action as appropriate to be provided with
such reports.

                               ARTICLE XII
                        RETENTION OF JURISDICTION

       12.1 Notwithstanding confirmation of the Plan, the Bankruptcy Court shall
retain jurisdiction for the following purposes until the entry of a final decree closing
this case:

             A.     To determine all objections to the allowance of Claims;

            B.    To approve or disapprove any compromise by the Reorganized
Debtor of any Claim;

              C.    To determine all disputes arising under the Plan, including
satisfaction of payments under the Plan or any dispute over any action taken by the
Reorganized Debtor, and to enforce, interpret and administer the terms and
conditions of the Plan;

            D.   To determine any applications for allowance of compensation
and reimbursement of expenses as may be required for pre- confirmation services;

              E.    To determine any applications for rejection, assumption, or
assignment of executory contracts and the allowance of any claims resulting from
the rejection thereof or from the rejection of executory contracts pursuant to the Plan;

              F.   To determine any applications, adversary proceedings, and
contested and litigation matters pending in the case at the Confirmation Date or
thereafter filed;
              G.   To determine any applications on file for approval of settlement
agreements and entering and enforcing all appropriate orders in connection
therewith;

             H.     To authorize the Reorganized Debtor to abandon property of the


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Estate;

            I.    To modify any provisions of the Plan pursuant to the Rules, the
Code and provisions of the Plan;

             J.    To correct any defect, cure any omission, or reconcile any
inconsistency in the Plan or the Confirmation Order as may be necessary to carry
out the purposes and intent of the Plan;

            K.     To determine such other matters provided for in the
Confirmation Order as may, from time to time, be authorized under the provisions
of the Code or any applicable law;

            L.     To enforce all orders, judgments, injunctions, and rulings in
connection with this proceeding; and

             M. To enter such orders that may be necessary or appropriate to aid
in confirmation and to facilitate implementation of the Plan.

                            ARTICLE XIII
                PROVISIONS REGARDING DISTRIBUTIONS

          13.1      Contested Claims: Notwithstanding anything in this Plan to the
   contrary, neither the Debtor, nor the Reorganized Debtor shall be obligated to
   make any payments towards any Contested Claim. Further, neither the Debtor
   nor the Reorganized Debtor shall be required to make any payments for an
   Allowed Claim to any Creditor if the Debtor, or the Reorganized Debtor have
   filed a motion, objection, adversary proceeding, state court proceeding or other
   similar notice against such Creditor alleging an objection, claim, cause of action,
   offset or counter- claim, such that if sustained and not paid by such Creditor
   would result in a disallowance of such Allowed Claim in accordance with §
   502(d) of the Code, provided, however, that the Reorganized Debtor shall escrow
   a sufficient amount to pay such Consisted Claim in full, in the event that it is
   allowed.

          13.2     Delivery of Distributions: Except as otherwise provided in the
   Plan, and notwithstanding any authority to the contrary, distributions to Holders
   of Allowed Claims and Allowed Interests shall be made by the Reorganized
   Debtor, in order of preference, (a) at the addresses set forth in any written notices
   of address changes delivered to the Reorganized Debtor after the date of any


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  related Proof of Claim or (b) at the addresses set forth on the Proofs of Claim
  filed by such Holders of Claims if the Reorganized Debtor has not received a
  written notice of a change of address. Except as set forth herein, distributions
  under the Plan on account of Allowed Claims shall not be subject to levy,
  garnishment, attachment, or similar legal process, so that each Holder of an
  Allowed Claim shall have and receive the benefit of the distributions in the
  manner set forth in the Plan. The Reorganized Debtor shall not incur any liability
  whatsoever on account of any distributions under the Plan except for gross
  negligence or willful misconduct.

         13.3       Allocation of Payments: All distributions shall be allocated first
  to principle until the principle amount of the Claim is paid in full, next to interest
  if interest is allowed in relation to the Claim and finally, to fees, costs and
  expenses if such are allowed.

         13.4      Compliance with Tax Requirements and Allocations: In
  connection with the Plan, to the extent applicable, the Reorganized Debtor shall
  be authorized to take all actions necessary or appropriate actions to comply with
  all tax withholding and reporting requirements imposed on them by any
  Governmental Unit, including liquidating a portion of the distribution to be made
  under the Plan to generate sufficient funds to pay applicable withholding taxes,
  withholding distributions pending receipt of information necessary to facilitate
  such distributions, or establishing any other mechanisms they believe are
  reasonable and appropriate. The Reorganized Debtor reserves the right, in its sole
  discretion, to allocate all distributions made under the Plan in compliance with
  all applicable wage garnishments, alimony, child support, other spousal awards,
  Liens, and encumbrances.

         13.5      Undeliverable Distributions and Non-Negotiated Checks: If
  any distribution to a Holder of a Claim is returned as undeliverable, no further
  distributions to such Holder of such Claim shall be made unless and until the
  Reorganized Debtor is notified of the then-current address of such Holder of the
  Claim, after which time future distributions shall be made to such Holder of the
  Claim without interest at such address. If checks issued by the Reorganized
  Debtor on account of Claims are not negotiated within one hundred and twenty
  (120) days after the issuance of such check, the check shall be null and void.
  Amounts in respect to undeliverable distributions and non-negotiated checks
  shall be held by the Reorganized Debtor until (i) such distributions are claimed
  or (ii) ninety (90) days after the check is returned or voided due to non-
  negotiation, after which date all such undistributed and non-negotiated amounts


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  shall revert to the Reorganized Debtor free of any restrictions thereon and the
  Claim of any Holder or successor to such Holder with respect to such distribution
  shall be discharged and forever barred, notwithstanding federal or state escheat
  laws to the contrary. Nothing contained herein shall require the Reorganized
  Debtor to attempt to locate any Holder of an Allowed Claim. This provision does
  not apply to the Office of the United States Trustee.

         13.6     Fractional Payments: Notwithstanding any other provision of
  the Plan to the contrary, payments of fractions of dollars shall not be required.
  Payment of fractions of dollars that would otherwise be distributed under the Plan
  shall be rounded to the lower whole number of dollars. This provision does not
  apply to the Office of the United States Trustee.

        13.7      Interest and Penalties on Claim: Unless otherwise specifically
  provide for in the Plan, the Confirmation Order or required by applicable
  bankruptcy law, post-petition interest and penalties shall not accrue or be paid on
  any Claims, and no Holder of a Claim shall be entitled to interest and penalties
  accruing on or after the Petition Date through the date that such Claim is satisfied
  in accordance with the terms of this Plan.

        13.8    Prepayment: Any distribution required under this Plan may be
  prepaid, in whole or in part, in the sole and absolute discretion, of the
  Reorganized Debtor.

                             ARTICLE XIV
                      MISCELLANEOUS PROVISIONS

         14.1       Authorization: The Debtor, Reorganized Debtor, and all parties-
  in- interest, including without limitation any Creditor, shall be required to execute
  any document reasonably requested by the other to memorialize and effectuate
  the terms and conditions of this Plan.

         14.2     Notices: Any notice required or permitted under this Plan shall
  be made in writing and served either by (i) certified mail, return receipt requested,
  postage prepaid; or (ii) overnight delivery service, freight prepaid, addressed to
  the following:

        If to the Debtor or Reorganized Debtor:

                                          Pulse Fitness, LLC


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                                          Attn: Scott Genord
                                          400 E. 10 Mile Road
                                          Pleasant Ridge, MI 48069

        With a copy to Debtor’s counsel:

                                      Stevenson & Bullock, P.L.C.
                                      Attn.: Elliot G. Crowder
                                      26100 American Drive, Suite 500
                                      Southfield, MI 48034

         14.3      Change of Address: In the event the holder of any Claim shall
  transfer such Claim after the Confirmation Date, it shall immediately advise the
  Reorganized Debtor in writing of such transfer and the Reorganized Debtor shall
  be entitled to assume that no transfer of any Claim has been made by any holder
  unless and until it shall have received written notice of the transfer. Each
  transferee of any claim shall take such claim subject to the provisions of the Plan
  and any requests made, waiver or consent given or other action taken hereunder
  and, except as otherwise expressly provided in the notice, the Reorganized
  Debtor shall be entitled to assume conclusively that the transferee named in such
  notice shall thereafter be vested with all right and powers of the transferor under
  the Plan.

         14.4      Post-Confirmation Professional Fees: Notwithstanding any
  provision of the Bankruptcy Code or the Bankruptcy Rules to the contrary, no
  professional shall be required to file a 2016(b) statement for any fees or expenses
  received after the Confirmation Date. Any services performed or expenses
  incurred by any professional on behalf of the Debtor with respect to this Case
  after the Confirmation Date shall not be subject to the prior review and approval
  of the Bankruptcy Court. All Professional Fees and expenses shall be billed
  directly to the Debtor.

         14.5     Final Decree: As soon as possible after distributions the
  Reorganized Debtor shall file with the Bankruptcy Court final reports and
  applications for final decree, and the time for filing such report and application
  shall be extended to such time.

         14.6       Transfer Taxes: The making and delivery of any instruments of
  transfer to or from the Debtor pursuant to this Plan, including deeds and articles
  of transfer shall not be taxed under any law imposing a stamp, as provided in §


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  1146(c) of the Code.

        14.7      Avoidance Actions: The Reorganized Debtor shall have the
  right to commence, continue, amend or compromise all causes of actions
  available to the Debtor, the Bankruptcy Estate or the Reorganized Debtor,
  whether or not those causes of action were the subject of a suit as of the
  Confirmation Date.

        14.8      Binding Effect: The Plan and the Confirmation Order will be
  binding upon, and will inure to the benefit of the Debtor, the Reorganized Debtor,
  and the holders of all Claims and Interests and their respective successors and
  assignees.

         14.9      Severability of Plan Provisions: After the Effective Date,
  should any term or provision of this Plan be held by the Bankruptcy Court to be
  invalid, void, or unenforceable, the remainder of the terms and provisions of the
  Plan will remain in full force and effect and will in no way be affected, impaired,
  or invalidated by such holding, alteration, or interpretation.


                           [Signatures on following page]




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                                     Respectfully submitted,
                                     STEVENSON & BULLOCK, P.L.C.

                                     By: /s/ Elliot G. Crowder
                                     Elliot G. Crowder (P76137)
                                     Ernest M. Hassan, III (P67815)
                                     Counsel for Debtor
                                     26100 American Drive, Suite 500
                                     Southfield, MI 48034
                                     Phone: (248) 354-7906
                                     Facsimile: (248) 354-7907
                                     Email: ecrowder@sbplclaw.com
                                     Email: ehassan@sbplclaw.com

                                     PULSE FITNESS, LLC

                                     By: /s/ Scott Genord
                                     Scott Genord
                                     Its: Responsible Person
  Dated: December 8, 2022




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                               EXHIBIT A




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                                                                                            Pulse Fitness, LLC (Case No. 22-47113)
                                                                                                Exhibit A - Liquidation Analysis




                                                                                                             Assets
                            Description of Asset                                        Liquidation Value                                                   Comments
           Business Checking Account (est.)                                                     $7,000.00
           Accounts Receivable (est.)                                                   $       50,000.00
           Computers/iPads                                                              $        5,000.00
           Barells/ezbars                                                               $        1,500.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
           Benches                                                                      $        2,000.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
           Dumbbells                                                                    $        6,000.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
           Plate Loaed Equipment                                                        $       10,000.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
           Plates                                                                       $        5,000.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
           Refrigerators                                                                $        8,000.00
           Freezer                                                                      $          150.00
           Ice makers(2)                                                                $        4,000.00
           Kettlebells                                                                  $        2,500.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
           Accessories (bands, ropes, balls, sleds, etc..)                              $       10,000.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
           Ability boxes                                                                $        1,000.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
           TVs(8)                                                                       $        3,000.00
           Boxing bags                                                                  $        1,000.00
           Storage Racks (7)                                                            $        4,000.00
           Speaker System and 5 speakers                                                $        2,000.00
           Cardio Equipment                                                                     $5,000.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
           Furniture                                                                    $        5,000.00
           Boilers                                                                      $       10,000.00
           Lockers                                                                      $        3,000.00
           Aerial silks set ups(5)                                                      $        2,000.00
           Steppers(20)                                                                 $        2,000.00     * Subject to claim of Greenseed, LLC; Debtor intends to surrender
                                                             Total                      $       149,150.00

                                                                                                         Liabilities
           Name of Claimant                                          Amount of Claim                        Comments
Secured
           Greenseed, LLC                                            $   (431,438.96)                         Amount owed as reflected on Debtor's Schedule D
           Invest Detroit                                            $    (62,533.04)                         Amount owed as reflected on Debtor's Schedule D

Administrative
            Stevenson & Bullock, P.L.C. (est.)                       $    (65,000.00)
            Subchapter V Trustee (est.)                              $     (7,500.00)
            Ch. 7 Trustee fees (est.)                                $    (10,957.50)
            Ch. 7 Trustee professional fees (est.)                   $    (15,000.00)
Priority Claims
            Internal Revenue Service                                 $     (1,676.79)

Distribution of Proceeds of Assets in Event of Liquidation
Gross proceeds available                                             $    149,150.00
Less Allowed Secured Claims                                          $   (493,972.00)
Less Administrative Expenses (total)                                 $    (98,457.50)
Less Priority Claims                                                 $     (1,676.79)
Less Unsecured Claims                                                $   (458,580.40)                         Amounts owed as reflected on Debtor's Schedule F
                                                         Total       $   (903,536.69)

                                                                                                       Net Proceeds

Proceeds available to prepetition unsecured creditors in Ch. 7                                                 $                                                                             -
Pro Rata Distribution available to unsecured creditors in Ch. 7                                               0%

Proceeds available to prepetition unsecured creditors under the Plan                                           $                                                                             -
Pro Rata Distribution available to unsecured creditors under the Plan                                         0%




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                               EXHIBIT B




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             Pulse Fitness
                                           23-Feb         23-Mar           23-Apr         23-May           23-Jun           23-Jul        23-Aug           23-Sep          23-Oct       23-Nov          23-Dec
Income
 Sales                                 105,000.00     115,000.00      110,000.00      115,000.00      110,000.00      110,000.00      110,000.00      110,000.00      115,000.00       120,000.00   105,000.00
Total Income                           105,000.00     115,000.00      110,000.00      115,000.00      110,000.00      110,000.00      110,000.00      110,000.00      115,000.00       120,000.00   105,000.00
Expenses
 Advertising                                100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00        100.00          100.00

 Bank & Merchant Services Charges          2,600.00        3,200.00        2,800.00        3,000.00        2,800.00        2,800.00        2,800.00        2,800.00        3,000.00      3,200.00        2,600.00
 Computer & Internet Expense               1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00      1,000.00        1,000.00
 Dues & Subscriptions                       700.00          700.00          700.00          700.00          700.00          700.00          700.00          700.00          700.00        700.00          700.00
 Equipment Rent                            5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00      5,000.00        5,000.00
 Gym
Equipment/Supplies/Maintenance             1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00      1,600.00        1,600.00
 Insurance                                 2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00      2,500.00        2,500.00
 Legal & Professional Fees                 7,000.00        7,000.00        7,000.00        7,000.00        7,000.00        7,000.00        7,000.00        7,000.00        7,000.00      7,000.00        1,500.00
 Meals and Entertainment                    200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00        200.00          200.00
 Office Expenses                            100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00        100.00          100.00
 Partner Life Insurance                     167.50          167.50          167.50          167.50          167.50          167.50          167.50          167.50          167.50        167.50          167.50
 Payroll Expenses
   Owner Pay                               7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00      7,500.00        7,500.00
   Contractor Expenses                    16,000.00       21,000.00       20,000.00       21,000.00       19,000.00       19,000.00       19,000.00       19,000.00       19,000.00     20,000.00       18,000.00
   Payroll Taxes                           2,850.00        3,000.00        3,000.00        3,250.00        3,000.00        3,000.00        3,000.00        3,000.00        3,250.00      3,500.00        2,850.00
   Wages                                  20,000.00       21,000.00       20,000.00       22,000.00       22,000.00       22,000.00       22,000.00       22,000.00       22,000.00     22,000.00       22,000.00
 Total Payroll Expenses                   38,850.00       45,000.00       43,000.00       46,250.00       44,000.00       44,000.00       44,000.00       44,000.00       44,250.00     45,500.00       42,850.00
 Payroll Processing                         300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00        300.00          300.00
 Rent                                     18,605.00       18,605.00       18,605.00       18,605.00       18,605.00       18,605.00       18,605.00       18,605.00       18,605.00     18,605.00       21,105.00
 Repairs & Maintenance                     1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00      1,750.00        1,750.00
 Shake Bar Supplies                        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00      3,800.00        3,800.00
 Software Expense                          1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00      1,750.00        1,750.00
 Utilities
   Television                               200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00        200.00             200
   Water                                    900.00         1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00      1,000.00        1,000.00
   Gas & Electric                          3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00      3,500.00        3,500.00
   Telephone                                300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00        300.00          300.00
 Total Utilities                           4,900.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00      5,000.00        5,000.00
Invest Detroit - Class I                   1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00      1,931.00        1,931.00
Gen Unsecured - Class IV                       0.00        2,000.00            0.00            0.00        2,000.00            0.00            0.00        2,000.00            0.00          0.00        2,000.00
Total Expenses                         100,353.50     109,203.50      104,803.50      108,253.50      107,803.50      105,803.50      105,803.50      107,803.50      106,253.50       107,703.50   103,453.50
Net Operating Income                  $    4,646.50   $    5,796.50   $    5,196.50   $    6,746.50   $    2,196.50   $    4,196.50   $    4,196.50   $    2,196.50   $    8,746.50   $ 12,296.50   $    1,546.50




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   24-Jan          24-Feb       24-Mar           24-Apr         24-May           24-Jun           24-Jul        24-Aug           24-Sep          24-Oct       24-Nov          24-Dec           25-Jan          Feb-25

 115,000.00   105,000.00       130,000.00   115,000.00      118,000.00      110,000.00      110,000.00      110,000.00      110,000.00      110,000.00       115,000.00   108,000.00      115,000.00      105,000.00
 115,000.00   105,000.00       130,000.00   115,000.00      118,000.00      110,000.00      110,000.00      110,000.00      110,000.00      110,000.00       115,000.00   108,000.00      115,000.00      105,000.00


    100.00          100.00        100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00        100.00          100.00          100.00          100.00

   3,000.00        2,600.00      3,500.00        3,000.00        3,200.00        2,800.00        2,800.00        2,800.00        2,800.00        2,800.00      3,000.00        2,600.00        3,000.00        2,500.00
   1,000.00        1,000.00      1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00      1,000.00        1,000.00        1,000.00        1,000.00
    700.00          700.00        700.00          700.00          700.00          700.00          700.00          700.00          700.00          700.00        700.00          700.00          700.00          700.00
   5,000.00        5,000.00      5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00      5,000.00        5,000.00        5,000.00        5,000.00

   1,600.00        1,600.00      1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00      1,600.00        1,600.00        1,600.00        1,600.00
   2,500.00        2,500.00      2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00      2,500.00        2,500.00        2,500.00        2,500.00
   1,500.00        1,500.00      1,500.00        1,500.00        1,500.00        1,500.00        1,500.00        1,500.00        1,500.00        1,500.00      1,500.00        1,500.00        1,500.00        1,500.00
    200.00          200.00        200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00        200.00          200.00          200.00          200.00
    100.00          100.00        100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00        100.00          100.00          100.00          100.00
    198.50          198.50        198.50          198.50          198.50          198.50          198.50          198.50          198.50          198.50        198.50          198.50          198.50          198.50


   7,500.00        7,500.00      7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00      7,500.00        7,500.00        7,500.00        7,500.00
  19,000.00       17,000.00     23,000.00       21,000.00       23,000.00       21,000.00       21,000.00       21,000.00       21,000.00       21,000.00     19,000.00       20,000.00       21,000.00       18,000.00
   3,250.00        2,850.00      3,500.00        3,250.00        3,300.00        3,000.00        3,000.00        3,000.00        3,000.00        3,000.00      3,250.00        2,850.00        3,250.00        3,250.00
  22,000.00       22,000.00     23,000.00       23,000.00       23,000.00       23,000.00       23,000.00       23,000.00       23,000.00       23,000.00     23,000.00       23,000.00       23,000.00       22,000.00
  44,250.00       41,850.00     49,500.00       47,250.00       49,300.00       47,000.00       47,000.00       47,000.00       47,000.00       47,000.00     45,250.00       45,850.00       47,250.00       43,250.00
    300.00          300.00        300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00        300.00          300.00          300.00          300.00
  21,105.00       21,105.00     21,105.00       21,105.00       21,105.00       21,105.00       21,105.00       21,105.00       21,105.00       21,105.00     21,105.00       21,105.00       21,105.00       21,105.00
   1,750.00        1,750.00      1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00      1,750.00        1,750.00        1,750.00        1,750.00
   3,800.00        3,800.00      3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00      3,800.00        3,800.00        3,800.00        3,800.00
   1,750.00        1,750.00      1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00      1,750.00        1,750.00        1,750.00        1,750.00


    200.00          200.00        200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00        200.00          200.00          200.00          200.00
   1,000.00         900.00       1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00      1,000.00         900.00         1,000.00        1,000.00
   3,500.00        3,500.00      3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00      3,500.00        3,500.00        3,500.00        3,500.00
    300.00          300.00        300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00        300.00          300.00          300.00          300.00
   5,000.00        4,900.00      5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00      5,000.00        4,900.00        5,000.00        5,000.00
   1,931.00        1,931.00      1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00      1,931.00        1,931.00        1,931.00        1,931.00
       0.00            0.00      2,000.00            0.00            0.00        2,000.00            0.00            0.00        2,000.00            0.00          0.00        2,000.00            0.00              0
 103,284.50   100,384.50       111,034.50   106,284.50      108,534.50      107,834.50      105,834.50      105,834.50      107,834.50      105,834.50       104,284.50   106,384.50      106,284.50      101,784.50
$ 11,715.50   $    4,615.50   $ 18,965.50   $    8,715.50   $    9,465.50   $    2,165.50   $    4,165.50   $    4,165.50   $    2,165.50   $    4,165.50   $ 10,715.50   $    1,615.50   $    8,715.50   $    3,215.50




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  Mar-25           Apr-25         May-25           Jun-25           Jul-25        Aug-25           Sep-25          Oct-25         Nov-25          Dec-25           Jan-26

 130,000.00   115,000.00      118,000.00      110,000.00      110,000.00      110,000.00      110,000.00      110,000.00      115,000.00      108,000.00      115,000.00
 130,000.00   115,000.00      118,000.00      110,000.00      110,000.00      110,000.00      110,000.00      110,000.00      115,000.00      108,000.00      115,000.00


    100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00

   3,500.00        3,000.00        3,200.00        2,800.00        2,800.00        2,800.00        2,800.00        2,800.00        3,000.00        2,600.00        3,000.00
   1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00
    700.00          700.00          700.00          700.00          700.00          700.00          700.00          700.00          700.00          700.00          700.00
   5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00

   1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00        1,600.00
   2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00        2,500.00
   1,500.00        1,500.00        1,500.00        1,500.00        1,500.00        1,500.00        1,500.00        1,500.00        1,500.00        1,500.00        1,500.00
    200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00
    100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00          100.00
    198.50          198.50          198.50          198.50          198.50          198.50          198.50          198.50          198.50          198.50          198.50


   7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00        7,500.00
  23,000.00       21,000.00       23,000.00       21,000.00       21,000.00       21,000.00       21,000.00       21,000.00       21,000.00       20,000.00       21,000.00
   3,500.00        3,250.00        3,300.00        3,000.00        3,000.00        3,000.00        3,000.00        3,000.00        3,000.00        2,850.00        3,250.00
  23,000.00       23,000.00       23,000.00       23,000.00       23,000.00       23,000.00       23,000.00       23,000.00       23,000.00       23,000.00       23,000.00
  49,500.00       47,250.00       49,300.00       47,000.00       47,000.00       47,000.00       47,000.00       47,000.00       47,000.00       45,850.00       47,250.00
    300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00
  21,105.00       21,105.00       21,105.00       21,105.00       21,105.00       21,105.00       21,105.00       21,105.00       21,105.00       21,105.00       21,105.00
   1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00
   3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00        3,800.00
   1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00        1,750.00


    200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00          200.00
   1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00        1,000.00         900.00         1,000.00
   3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00        3,500.00
    300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00          300.00
   5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        5,000.00        4,900.00        5,000.00
   1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00        1,931.00
   2,000.00            0.00              0         2,000.00            0.00            0.00        2,000.00            0.00            0.00        2,000.00            0.00
 111,034.50   106,284.50      108,534.50      107,834.50      105,834.50      105,834.50      107,834.50      105,834.50      106,034.50      106,384.50      106,284.50
$ 18,965.50   $    8,715.50   $    9,465.50   $    2,165.50   $    4,165.50   $    4,165.50   $    2,165.50   $    4,165.50   $    8,965.50   $    1,615.50   $    8,715.50




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                               EXHIBIT C




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                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
 Pulse Fitness, LLC                         Bankruptcy Case No. 22-47113
                                            Hon. Mark A. Randon
                     Debtor.                Chapter 11
                                            Subchapter V


    BALLOT FOR ACCEPTANCE OR REJECTION OF THE PLAN OF
           REORGANIZATION OF PULSE FITNESS, LLC

      The Debtor has filed the Plan of Reorganization of Pulse Fitness, LLC (the
“Plan”) referred to in this Ballot. The Plan provides information to assist you in
deciding how to vote your ballot. If you do not have a copy of the Plan, you may
obtain a copy from Debtor’s counsel Elliot G. Crowder, Stevenson & Bullock,
P.L.C., 26100 American Drive, Suite 500, Southfield, MI 48034                 and
ecrowder@sbplclaw.com.

       You should review the Plan before you vote. You may wish to seek legal
advice concerning the Plan and your classification and treatment under the Plan. If
you hold claims or equity interest in more than one class, identify each class, amount
of claim and acceptance or rejection separately. If you require additional ballots, you
may obtain them from Debtor’s counsel.

      If your ballot is not received by Elliot Crowder, Stevenson & Bullock, P.L.C.,
26100 American Drive, Suite 500, Southfield, MI 48034 on or before January 3,
2023 and unless such deadline is not extended, your vote will not count as either an
acceptance or rejection of the Plan.

     If the Plan is confirmed by the Bankruptcy Court it will be binding on you
whether or not you vote.




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     To have your vote count, you must complete and return this ballot to:

                               Elliot G. Crowder
                          Stevenson & Bullock P.L.C.
                        26100 American Drive, Suite 500
                          Southfield, Michigan 48034

NAME OF CREDITOR

TYPE OF CLAIM (Check one)

 CLASS I
 CLASS II
 CLASS III
 CLASS IV

AMOUNT OF CLAIM                   $

MARK ONE ONLY:                Accepts Plan

                              Rejects Plan

SIGNATURE:

NAME:

TITLE:

ADDRESS:



DATE:




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